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UNITED STATES DISTRICT COURT
DISTRICT OF NEW MEXICO

 

 

CARL WILSON, an individual, and
AUDREE WILSON, an individual,

Plaintiffs,
ve 94 Civ. 892 (JC)

HARPERCOLLINS PUBLISHERS INC.,
a Delaware corporation,

Defendant.

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MEMORANDUM OF LAW IN SUPPORT OF
DEFENDANT’S MOTION TO DISQUALIFY PLAINTIFFS’ COUNSEL

INTRODUCTION

In this libel action, defendant HarperCollins
Publishers Inc. ("HarperCollins") has moved for summary
judgment on the ground that HarperCollins did not publish
WOULDN’T IT BE NICE -- MY OWN STORY ("the book") with any
degree of fault. Summary judgment briefing is complete and
oral argument is awaited.

Plaintiffs’ evidentiary proffer in opposition to
HarperCollins’ motion for summary judgment consists
primarily of "fact" declarations from their own counsel of
record, Barry Langberg, and his partner Deborah Drooz. Mr.
Langberg’s and Ms. Drooz’s dual role playing -- serving
simultaneously as plaintiffs’ key factual witnesses and

plaintiffs’ counsel -- is ethically barred by the New Mexico

 
 

 

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Rules of Professional Conduct, as explained infra.

 

Accordingly, HarperCollins hereby moves for disqualification
of Mr. Langberg and Ms. Drooz from serving as plaintiffs’
counsel in this case. However, because the declarations
that Mr. Langberg and Ms. Drooz have submitted are not
admissible under the Federal Rules of Evidence for the
reasons set forth in HarperCollins’ summary judgment reply
brief, and thus ought not to be considered for purposes of
summary judgment (see Fed. R. Civ. P. 56(e)), HarperCollins
does not press disqualification of Mr. Langberg and Ms.
Drooz prior to disposition of the summary judgment motion.
ARGUMENT

DISQUALIFICATION OF PLAINTIFFS’ COUNSEL IS MANDATED
SHOULD THIS CASE PROCEED BEYOND SUMMARY JUDGMENT

A. The New Mexico Rules of Professional Conduct
Preclude An Attorney From Serving Both As Fact
Witness and As Advocate
The ethical mandate barring an attorney from serving
both as advocate and witness derives from the inherent
conflict of interest implicated by such dual role playing
and the fundamental risk of prejudice to the represented and
to the opposing parties. The attorney-witness rule thus
operates to "prevent situations in which others might think

the lawyer, as witness, is distorting the truth for his

client or is enhancing his own credibility as advocate by

 
   

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virtue of having taken an oath as witness." In re American
Cable Pubs., Inc., 768 F.2d 1194, 1196 (10th Cir. 1985).
An attorney who serves both as advocate and witness

prejudices both his own client and the opposing party:
If a lawyer is both counsel and witness, the
lawyer becomes more easily impeachable for
interest and thus may be a less effective witness.
Conversely, the opposing counsel may be
handicapped in challenging the credibility of the
lawyer when the lawyer also appears as an advocate
in the case. An advocate who becomes a witness is

in the unseemly and ineffective position of
arguing his or her own credibility.

World Youth Day v. Famous Artists Merchandising Exch., 866
F. Supp. 1297, 1301 (D. Colo. 1994). Thus, because the
attorney-witness rule aims to avoid both actual professional
misconduct, as well as the appearance of impropriety, any
doubt as to its application should be resolved in favor of
disqualification. See Sherwood Group, Inc. v. Rittereiser,
Civ. No. 90-2414, 1991 U.S. Dist. LEXIS 7147 *5 (D.N.J.
1991).

The New Mexico Rules of Professional Conduct -- made
applicable to this proceeding by the local rules of the
District of New Mexico (see In re Doe, 801 F. Supp. 478, 485
(D.N.M. 1992) (citing D.N.M LR-DV 83.9)) -- similarly
mandate that an attorney cannot ethically serve both as
advocate and witness. Thus, Rule 16-307(A), which is based

on ABA Model Rule of Professional Conduct 3.7, provides that

 
 

 

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"Ca] lawyer shall not act as advocate at a trial in which

the lawyer is likely to be a necessary witness except where:

 

(1) the testimony relates to an uncontested issue; or (2)
the testimony relates to the nature and value of legal
services rendered in the case."!
The official commentary on Rule 16-307 tracks that of
the Model Rule and makes clear that the opposing party has
standing to seek disqualification of opposing counsel based
on his or her role as witness:
The opposing party has proper objection where the
combination of roles may prejudice that party’s
rights in the litigation. A witness is required
to testify on the basis of personal knowledge,
while an advocate is expected to explain and
comment on evidence given by others. It may not
be clear whether a statement by an advocate-
witness should be taken as proof or as an analysis
of the proof.

N.M.R. Prof. Conduct 16-307 cmt. (citing ABA cmt. on Model

Rule 3.7).

 

1. Neither of the two exceptions to Rule 16-307(A) is
applicable here. As to the first, the subject matter of Mr.
Langberg’s and Ms. Drooz’s proposed testimony -- far from
"relat{ing] to an uncontested issue" -- is the very basis of
their claim. The second exception is clearly inapplicable,
as the proffered testimony is in no way related to the
rendering of legal services.
 

 

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B. Mr. Langberg And Ms. Drooz Are Likely To Be
Necessary Witnesses Should This Case Proceed
Beyond Summary Judgment

 

 

 

A lawyer is a "necessary" witness within the meaning of
Rule 16-307(A) if it is "likely" that he or she will testify
in the party’s case. The rule "does not require certainty
as to a lawyer’s testimony; the plain language [of the Rule]
requires only ‘likelihood.’" Freeman v. Vicchiarelli, 827
F. Supp. 300, 302-03 (D.N.J. 1993) (applying Model Rule
3.7). See also Sherwood, Civ. No. 90-2414, 1991 U.S. Dist.
LEXIS 7147 *5 (counsel disqualified under Model Rule 3.7 in
view of "possibility" that he would have to testify). "Even
when there is question as to the materiality of the lawyer’s
testimony to the client’s case, ‘doubts should be resolved
in favor of the lawyer testifying and against his becoming
or continuing as an advocate.’" Freeman, 827 F. Supp. at
306 (quotation omitted).

To date, the only fact witnesses that plaintiffs have
affirmatively put forward are Mr. Langberg and Ms. Drooz.
As such, it is obvious, from the plaintiffs’ own
perspective, that Mr. Langberg and Ms. Drooz are "necessary
witnesses." See Freeman, 827 F. Supp. at 301-03 (ordering

disqualification of plaintiff’s counsel whose testimony

 

would be plaintiff’s "primary" evidence of his claim); Mauze

v. Curry, 861 S.W.2d 869, 869-70 (Tex. 1993) (trial judge

 
 

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abused his discretion in refusing to order disqualification
of attorney who responded to tort defendant’s motion for
summary judgment with his own affidavit expressing opinion

on defendant’s standard of care).

C. Disqualification of Plaintiffs’ Counsel Must Be
Complete As To All Trial and Pre-Trial Activity

Once deemed a "necessary witness," disqualification of

a party’s counsel must be complete and must extend to all
trial and trial-related activity, particularly the taking
and defending of depositions. Freeman, 827 F. Supp. at 302.
As one court explained in barring an attorney-witness from
taking depositions:

In framing questions during depositions, it is all

but impossible for the questioner not to inject

his or her own knowledge and assumptions into the
questions. Where the questioner personally knows

many details and facts about a case .. . there is
the danger that deposition questions will become
testimony.

Massachusetts School of Law v. American Bar Ass’n, 872 F.
Supp. 1346, 1380-81 (E.D. Pa. 1994). Entering a similar
order, another court within the Tenth Circuit observed:

Realistically, the testimony from oral depositions
in th[e] case cannot easily be taken and read into
evidence without revealing [the attorney-
witness’s] identity as the deposing attorney.
Indeed, [the attorney-witness] himself probably
will be deposed. Moreover, it is naive to believe
that depositions are divorced from trial advocacy.
Depositions are routinely utilized at trial for
impeachment, and to present testimony in lieu of
live testimony when the witness is unavailable.
The skill of deposing counsel on direct and cross-

 
 

 

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examination is necessarily woven into the fabric
of the trial itself. . . . I conclude that [the
opposing party] could suffer prejudice and the
trial [could be] tainted by jury confusion if [the
attorney-witness] is allowed to take or defend
depositions in this case.

World Youth, 866 F. Supp. at 1304.

Thus, “as necessary witnesses," Mr. Langberg and Ms.
Drooz are ethically barred from serving as plaintiffs’
counsel for any and all purposes should this case proceed
beyond the summary judgment stage.

CONCLUSION

For the foregoing reasons, Mr. Langberg and Ms. Drooz
should be disqualified from serving in any capacity as
plaintiffs’ counsel in the event that this case advances

beyond summary judgment.

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We hereby certify that a copy of
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